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Dear Honorable Judge Patrica M Mayer Doc 24-12610

Response to opposing council request for denial

My request was to continue with the First Amended plan submitted on the 13" of
February 2025 the plan was submitted the morning of the hearing your honor and the
trustee said to my lawyer you cant do that the Judge will not have time to review it this is
where the issue is, This plan was to satisfy 100% of the Plan but was not reviewed because
of the motion for relief was giving the next business day after the Holiday.

Your Honor |! will have to pay this bankruptcy either way, one way it put me ina
situation with the probability of losing both properties the other give me rental income from
the restaurant and with the sale of 9 locust street put me ina positive situation to
complete this plan early then the time left, along with working my fulltime job and other job
as a realtor with Keller Willliams | know this bankruptcy has been difficult but | can
complete it before | turn 64 this is where | am right now it means everything to me to get this
plan | still have the renters for the restaurant standing by to see if | can get this resolved so
they can open they have a lot of equipment brought in there pending | can get this plan
Started it will boost my monthly payments and give my the Best case opportunity to
complete this plan sooner then the time left | can do it | just need the opportunity to get
every debt paid that’s owed in the Plan.

Jerry Johnson 3/17/2025

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